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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                      Case Number: 22-22375-CIV-MARTINEZ-BECERRA

  AMIN LAKHANI,

         Plaintiff,

  v.

  HUNTINGTON 18 LLC and
  INVESTMENTS 41, LLC,

        Defendants.
  _____________________________________/


                      FINAL ORDER OF DISMISSAL WITH PREJUDICE

         THIS MATTER is before the Court on the parties’ Joint Stipulation of Dismissal with

  Prejudice. (ECF No. 14). Accordingly, it is hereby

         ADJUDGED that this action is DISMISSED with prejudice, and this case is CLOSED.

         DONE AND ORDERED in Miami, Florida, this 14th day of March, 2023.

                                                       __________________________________
                                                       JOSE E. MARTINEZ
                                                       UNITED STATES DISTRICT JUDGE

  Copies provided to:
  Magistrate Judge Becerra
  All Counsel of Record
